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            EXHIBIT B
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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

NEONODE SMARTPHONE LLC,

                                     Plaintiff,
                                                  Civil Action No. 6:20-cv-00505-ADA
                      v.

APPLE INC.                                        JURY TRIAL DEMANDED

                                  Defendants.



     PLAINTIFF’S PRELIMINARY DISCLOSURE OF INFRINGEMENT
               CONTENTIONS AND PRIORITY DATES

       Pursuant to the Court’s Order Governing Proceedings – Patent Case (“OGP”)

served on October 6, 2020 (Dkt. No. 16), Plaintiff Neonode Smartphone LLC

(“Plaintiff”) hereby serves on Defendant Apple Inc. (“Defendant”) charts setting forth

where in the accused products each element of the asserted claims are found (Exhibit

A), and the earliest priority date for each asserted claim (Exhibit B).

       Plaintiff’s disclosure of Preliminary Infringement Contentions is based on

Plaintiff’s knowledge as of the date of this disclosure. In addition, these Contentions

and disclosures are based in part on reasonable inferences concerning the present and

past functionality of the accused devices based on the information presently reasonably

available to Plaintiff. Plaintiff, accordingly, reserves the right to amend or supplement

these disclosures as additional relevant information becomes available to Plaintiff. In

addition, the identification of specific examples of infringing structure or functionality
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in Plaintiff’s Preliminary Infringement Contentions should not be deemed or understood

to limit the scope of Plaintiff’s Contentions to only the exemplary structure or

functionality.

       Plaintiff’s obligation to produce information and documents is limited to

materials in its possession, custody or control. Additional information, documents and

other materials may be produced in discovery in this matter that are probative of

infringement, and of the priority date and conception and reduction to practice, of the

patents in suit. Plaintiff, therefore, reserves its right to amend or supplement this

Preliminary Disclosure of Infringement Contentions and Priority Dates, and production

of documents, in light of such later-produced information and materials.

DATED: October 16, 2020                  Respectfully submitted,

                                         By: /s/ Philip J. Graves

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                                         Pasadena, CA 91101
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                                         Facsimile: (213) 330-7152
                                         Email: philipg@hbsslaw.com

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                             913 Franklin Ave., Suite 201
                             Waco, Texas 76701
                             Telephone: (254) 776-3336
                             Facsimile: (254) 776-6823

                             Counsel for Plaintiff Neonode Smartphone LLC




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                    EXHIBIT A




                               4
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                                               PRELIMINARY INFRINGEMENT CONTENTIONS – APPLE - 1

                                                                U.S. PATENT NO. 8,095,879



               Claim                                                             Evidence
                                                        1                              2
    1[p]: A non- transitory      The Accused Devices and Accused Devices (3PA) include a non- transitory computer readable medium (a flash
    computer readable            memory), storing program code which, when read by the processor incorporated into the Accused Devices,
    medium storing a             allows the devices to present a user interface.
    computer program with
    computer program code,
    which, when read by a
    mobile handheld
    computer unit, allows the
    computer to present a
    user interface for the
    mobile handheld
    computer unit, the user
    interface comprising:



1
  The “Accused Devices” include all Apple mobile devices sold with iOS 13 or iPadOS (as well as later versions of iOS or iPadOS) loaded onto the device, as well
as all devices to which iOS 13 or iPadOS (as well as later versions of iOS or iPadOS) have been downloaded. As of 10/2020, models that support iOS 13 or
iPadOS include iPhone SE, iPhone 6s Plus, iPhone 6s, iPhone 7, iPhone 7 Plus, iPhone 8, iPhone 8 Plus, iPhone X, iPhone XR, iPhone XS, iPhone XS Max, iPhone
11, iPhone 11 Pro, iPhone 11 Pro Max, iPhone SE (2nd generation), iPad Air 2, iPad Air (3d generation), iPad mini 4, iPad (5th, 6th generation), iPad mini (5th
generation), iPad Pro (1st, 2nd, 3rd, 4th generation). Plaintiff has not yet been able to obtain information concerning subsequent models of iPhone and iPad
products sufficient to enable it to determine whether such products infringe the ‘879 Patent, and on that basis reserves its right to supplement or amend these
contentions to address infringement by such products.
2
  The “Accused Devices (3PA)” include all Apple mobile devices running iOS 8 and later versions of iOS, iPadOS or WatchOS, and to which a Third Party Swipe-
Typing Keyboard App (defined below) has been downloaded. Apple devices supporting iOS 8 and subsequent versions of iOS and iPadOS include the iPhone
4S, iPhone 5, iPhone 5C, iPhone 5S, iPhone 6, iPhone 6 Plus, iPhone SE, iPhone 6s, iPhone 6s Plus, iPhone 7, iPhone 7 Plus, iPhone 8, iPhone 8 Plus, iPhone X,
iPhone XR, iPhone XS, iPhone XS Max, iPhone 11, iPhone 11 Pro, iPhone 11 Pro Max, iPhone SE (2nd generation), iPad Air 2, iPad Air (3d generation), iPad mini 4,
iPad mini (5th generation), iPad (5th, 6th, 7th generations), and iPad Pro (1st, 2nd, 3rd, 4th generations), and Apple Watch. Plaintiff has not yet been able to
obtain information concerning subsequent models of iPhone and iPad products sufficient to enable it to determine whether such products infringe the ‘879
Patent, and on that basis reserves its right to supplement or amend these contentions to address infringement by such products.

                                                                               1
                              Case 6:20-cv-00505-ADA Document 27-2 Filed 11/05/20 Page 7 of 71




                                The iPhone 4S,3 iPhone 5,4 iPhone 5C,5 iPhone 5S,6 iPhone 6,7 iPhone 6 Plus,8 iPhone SE,9 iPhone 6s,10 iPhone 6s
                                Plus,11 iPhone 7,12 iPhone 7 Plus,13 iPhone 8,14 iPhone 8 Plus,15 iPhone X,16 iPhone XR,17 iPhone XS,18 iPhone XS




3
  8, 16, 32, or 64 GB flash memory. iPhone 4S, Wikipedia, https://en.wikipedia.org/wiki/IPhone_4S; iPhone 4S Teardown
https://www.ifixit.com/Teardown/iPhone+4S+Teardown/6610 (Toshiba THGVX1G7D2GLA08 16 GB 24 nm MLC NAND flash).
4
  16, 32 or 64 GB flash memory. iPhone 5, Wikipedia, https://en.wikipedia.org/wiki/IPhone_5; iPhone 5 Teardown,
https://www.ifixit.com/Teardown/iPhone+5+Teardown/10525 (Hynix H2JTDG2MBR 128 Gb (16 GB) NAND flash).
5
  8, 16, 32 GB flash memory. iPhone 5C, Wikipedia, https://en.wikipedia.org/wiki/IPhone_5C; iPhone 5C Teardown,
https://www.ifixit.com/Teardown/iPhone+5c+Teardown/17382 (Toshiba THGBX2G7B2JLA01 128 Gb (16 GB) NAND flash).
6
  16, 32, 64 GB flash memory. iPhone 5S, Wikipedia, https://en.wikipedia.org/wiki/IPhone_5S; iPhone 5S Teardown,
https://www.ifixit.com/Teardown/iPhone+5s+Teardown/17383 (SK Hynix H2JTDG8UD3MBR 128 Gb (16 GB) NAND Flash).
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  16, 32, 64, 128 GB flash memory. iPhone 6, Wikipedia, https://en.wikipedia.org/wiki/IPhone_6; iPhone 6 Teardown,
https://www.ifixit.com/Teardown/iPhone+6+Teardown/29213 (SanDisk SDMFLBCB2 128 Gb (16 GB) NAND Flash).
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  16, 64, 128 GB flash memory. iPhone 6 Plus, Wikipedia, https://en.wikipedia.org/wiki/IPhone_6; iPhone 6 Plus Teardown,
https://www.ifixit.com/Teardown/iPhone+6+Plus+Teardown/29206 (SK Hynix H2JTDG8UD1BMS 128 Gb (16 GB) NAND Flash).
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  16, 32, 64 or 128 GB flash memory. iPhone SE (1st generation), Wikipedia, https://en.wikipedia.org/wiki/IPhone_SE_(1st_generation); iPhone SE Teardown,
https://www.ifixit.com/Teardown/iPhone+SE+Teardown/60902 (Toshiba THGBX5G7D2KLDXG 16 GB NAND Flash).
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   16, 32, 64, or 128 GB flash memory. iPhone 6s, Wikipedia, https://en.wikipedia.org/wiki/IPhone_6S; iPhone 6s Teardown,
https://www.ifixit.com/Teardown/iPhone+6s+Teardown/48170 (Toshiba THGBX5G7D2KLFXG 16 GB 19 nm NAND Flash).
11
   16, 32, 64, or 128 GB flash memory. iPhone 6s Plus, Wikipedia, https://en.wikipedia.org/wiki/IPhone_6S; iPhone 6s Plus Teardown,
https://www.ifixit.com/Teardown/iPhone+6s+Plus+Teardown/48171 (SK Hynix H23QDG8UD1ACS 16 GB NAND Flash).
12
   32, 128, or 256 GB flash memory. iPhone 7, Wikipedia, https://en.wikipedia.org/wiki/IPhone_7; iPhone 7 Teardown,
https://www.ifixit.com/Teardown/iPhone+7+Teardown/67382 (SK Hynix H23QEG8VG2ACS 32 GB Flash).
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   32, 128, or 256 GB flash memory. iPhone 7 Plus, Wikipedia, https://en.wikipedia.org/wiki/IPhone_7; iPhone 7 Plus Teardown,
https://www.ifixit.com/Teardown/iPhone+7+Plus+Teardown/67384 (Toshiba THGBX6T0T8LLFXF 128 GB NAND Flash).
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   64, 128, or 256 GB flash memory. iPhone 8, Wikipedia, https://en.wikipedia.org/wiki/IPhone_8; iPhone 8 Teardown,
https://www.ifixit.com/Teardown/iPhone+8+Teardown/97481 (Toshiba TSBL227VC3759 64 GB NAND flash storage).
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   64, 128, or 256 GB flash memory. iPhone 8 Plus, Wikipedia, https://en.wikipedia.org/wiki/IPhone_8; iPhone 8 Plus Teardown,
https://www.ifixit.com/Teardown/iPhone+8+Plus+Teardown/97482 (SanDisk SDMPEGF12 64 GB NAND flash storage).
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   64 or 256 GB flash memory. iPhone X, Wikipedia, https://en.wikipedia.org/wiki/IPhone_X; iPhone X Teardown,
https://www.ifixit.com/Teardown/iPhone+X+Teardown/98975 (Toshiba TSB3234X68354TWNA1 64 GB flash memory).
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   64, 128, or 256 GB flash memory. iPhone XR, Wikipedia, https://en.wikipedia.org/wiki/IPhone_XR; iPhone XR Teardown,
https://www.ifixit.com/Teardown/iPhone+XR+Teardown/114123 (Toshiba TSB3243VC0428CHNA1 64 GB flash storage).
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   64, 256 or 512 GB flash memory. iPhone XS, Wikipedia, https://en.wikipedia.org/wiki/IPhone_XS; iPhone XS Teardown,
https://www.ifixit.com/Teardown/iPhone+XS+and+XS+Max+Teardown/113021 (Toshiba TSB3243V85691CHNA1 64 GB flash storage).

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                              Case 6:20-cv-00505-ADA Document 27-2 Filed 11/05/20 Page 8 of 71




                                Max,19 iPhone 11,20 iPhone 11 Pro,21 iPhone 11 Pro Max,22 iPhone SE (2nd generation),23 iPad Air 2,24 iPad Air (3d
                                generation),25 iPad mini 4,26 iPad mini (5th generation),27 iPad (5th, 28 6th, 29 7th30 generations), iPad Pro (1st,31




19
   Ibid.
20
   64, 128 or 256 GB flash memory. iPhone 11, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11.
21
   64, 256 or 512 GB flash memory. iPhone 11 Pro, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11_Pro.
22
   64, 256 or 512 GB flash memory. iPhone 11 Pro Max, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11_Pro; iPhone 11 Pro Max Teardown,
https://www.ifixit.com/Teardown/iPhone+11+Pro+Max+Teardown/126000 (Toshiba TSB 4226VE9461CHNA1 1927 64 GB flash storage).
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   64, 128, or 256 GB flash memory. iPhone SE (2nd generation), Wikipedia, https://en.wikipedia.org/wiki/IPhone_SE_(2nd_generation); iPhone SE (2nd
generation) Teardown, https://www.ifixit.com/Teardown/iPhone+SE+2020+Teardown/133066 (Toshiba TSB4226LF23417WNA11948 64 GB flash storage).
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   16, 32, 64, 128 GB flash memory. iPad Air 2, Wikipedia, https://en.wikipedia.org/wiki/IPad_Air_2; iPad Air 2 Teardown,
https://www.ifixit.com/Teardown/iPad+Air+2+Teardown/30592 (SK Hynix H2JTDG8UD1BMR 128 Gb (16 GB) NAND Flash).
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   16, 32, 64, 128 GB flash memory. iPad mini 4 Wikipedia, https://en.wikipedia.org/wiki/IPad_Mini_4; iPad mini 4Teardown,
https://www.ifixit.com/Teardown/iPad+Mini+4+Teardown/48891 (SK Hynix H2JTDG8UD1BMR 16 GB NAND flash).
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   32 or 128 GB flash memory. iPad (5th generation), Wikipedia, https://en.wikipedia.org/wiki/IPad_(2017); iPad (5th generation) Teardown,
https://www.ifixit.com/Teardown/iPad+5+Teardown/85098 (SK Hynix H23QEG8VG2ACR 32 GB NAND flash storage).
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   32 or 128 GB flash memory. iPad (6th generation), Wikipedia, https://en.wikipedia.org/wiki/IPad_(2018); iPhone iPad (6th generation) Teardown,
https://www.ifixit.com/Teardown/iPad+6+Teardown/105416 (Toshiba TSB3236LX3536TWNB1 32 GB flash memory).
30
   32 or 128 GB flash memory. iPad (7th generation), Wikipedia, https://en.wikipedia.org/wiki/IPad_(2019); iPad (7th generation) Teardown,
https://www.ifixit.com/Teardown/iPad+7+Teardown/126291 (SanDisk SDMRSEFJ2 032G 32 GB flash memory).
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   32, 128, 256 GB flash memory. iPad Pro (1st generation) Wikipedia, https://en.wikipedia.org/wiki/IPad_Pro_(1st_generation); iPad Pro (1st generation)
Teardown, https://www.ifixit.com/Teardown/iPad+Pro+12.9-Inch+Teardown/52599 (Toshiba THGBX5G8D4KLDXG 32 GB NAND Flash).

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                             Case 6:20-cv-00505-ADA Document 27-2 Filed 11/05/20 Page 9 of 71




                               2nd,32 3rd,33 4th34 generations), and Apple Watch (1st generation,35 Series 1,36 Series 2,37 Series 3,38 Series 4,39
                               Series 540, SE41 and Series 642) include a memory storing program code which, when read by the processor
                               incorporated into the Accused Devices, allows the devices to present a user interface.

                               The memory stores program code, e.g., the operating system (iOS, iPadOS, WatchOS) code of the device as well
                               as application code. The Accused Devices and Accused Devices (3PA) include hardware, such as RAM and a main
                               processor, for reading the operating system and application code stored in memory. The iPhone 4s includes an
                               A5 processor.43 The iPhone 5 and 5C include an A6 processor.44 The iPhone 5S includes an A7 processor.45 The
                               iPhone 6, 6 Plus and iPad Mini 4 include an A8 processor.46 The iPad Air 2 includes an A8X processor.47 The
                               iPhone 6s, 6s Plus, SE (1st Gen) and iPad (5th generation) include an A9 processor.48 The iPhone 7, 7 Plus, iPad

32
   64, 128, 256, or 512 GB flash memory. iPad Pro (2nd generation) Wikipedia, https://en.wikipedia.org/wiki/IPad_Pro_(2nd_generation).
33
   64, 256, 512 GB, 1 TB flash memory. iPad Pro (3rd generation) Specs, https://support.apple.com/kb/SP785?locale=en_US; iPad Pro (3rd generation)
Teardown, https://www.ifixit.com/Teardown/iPad+Pro+11-Inch+Teardown/115457 (Toshiba TSB3247M61710TWNA1 flash storage (64 GB total)).
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   128, 256, 512 GB, 1 TB flash memory. iPad Pro (4th generation) Specs, https://support.apple.com/kb/SP815?locale=en_US.
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   8 GB flash memory. Apple Watch (1st generation), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch;
https://www.macrumors.com/2015/01/09/samsung-produce-apple-watch-components/ (Samsung NAND).
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teardown-shows-custom-processor-30381587/ (Sandisk/Toshiba NAND).
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   8 GB flash memory. Apple Watch (Series 2), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch.
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   8 or 16 GB flash memory. Apple Watch (Series 3), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch; Apple Watch Series 3 Teardown,
https://www.techinsights.com/blog/apple-watch-series-3-teardown (NAND: 4x Toshiba FPV7_32G, total of 16GB flash memory).
39
   16 GB flash memory. Apple Watch (Series 4), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch.
40
   32 GB flash memory. Apple Watch (Series 5), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch.
41
   32 GB flash memory. Apple Watch (SE), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch.
42
   32 GB flash memory. Apple Watch (Series 6), Wikipedia, https://en.wikipedia.org/wiki/Apple_Watch.
43
   https://www.macstories.net/news/apple-announces-iphone-4s-a5-faster-graphics-same-iphone-4-design/ (Apple Announces iPhone 4S_ A5, 8 MP Camera,
1080p Video Recording - Available October 14th – MacStories.pdf)
44
   https://www.theverge.com/2012/9/12/3321108/apple-a6-new-iphone-soc-cpu-processor (The Apple A6_ a smaller processor for the iPhone 5 with twice
the performance - The Verge.pdf); https://support.apple.com/kb/SP684?viewlocale=en_US&locale=en_US (iPhone 5C - Technical Specifications.pdf)
45
   https://support.apple.com/kb/SP685?viewlocale=en_US&locale=en_US (iPhone 5s - Technical Specifications.pdf)
46
   https://support.apple.com/kb/SP705?viewlocale=en_MZ&locale=en_MZ (iPhone 6 - Technical Specifications.pdf);
https://support.apple.com/kb/SP706?viewlocale=en_MZ&locale=en_MZ (iPhone 6 Plus - Technical Specifications.pdf);
https://support.apple.com/kb/SP725?viewlocale=en_US&locale=en_US (iPad mini 4 – Technical Specifications.pdf)
47
   https://support.apple.com/kb/SP708?viewlocale=en_US&locale=en_US (iPad Air 2 - Technical Specification.pdf)
48
   https://support.apple.com/kb/SP726?viewlocale=en_MZ&locale=en_MZ (iPhone 6s - Technical Specifications.pdf);
https://support.apple.com/kb/SP727?viewlocale=en_MZ&locale=en_MZ (iPhone 6s Plus - Technical Specifications.pdf);

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                               (6th generation) and iPad (7th generation) include an A10 Fusion processor. 49 The iPhone 8, 8 Plus and X include
                               an A11 Bionic processor. 50 The iPhone XS, XS Max, XR, iPad Air (3d Gen) and iPad mini (5th generation) and iPad
                               Pro (1st, 2nd, 3rd and 4th generations) include an A12 Bionic processor.51 The iPhone 11, 11 Pro, 11 Pro Max and
                               SE (2nd Gen) include an A13 Bionic processor.52 The Apple Watch (1st generation) includes an S1 processor.53 The
                               Apple Watch (Series 1) includes an S1P processor.54 The Apple Watch (Series 2) includes an S2 processor.55 The




https://support.apple.com/kb/SP738?viewlocale=en_US&locale=en_US (iPhone SE – Technical Specifications.pdf);
https://support.apple.com/kb/SP751?viewlocale=en_US&locale=en_US (iPad (5th generation) - Technical Specifications.pdf)
49
   https://support.apple.com/kb/SP743?viewlocale=en_MZ&locale=en_MZ (iPhone 7 - Technical Specifications.pdf);
https://www.ifixit.com/Teardown/iPhone+7+Teardown/67382 (iPhone 7 Teardown - iFixit.pdf);
https://support.apple.com/kb/SP744?viewlocale=en_MZ&locale=en_MZ (iPhone 7 Plus - Technical Specifications.pdf);
https://www.techinsights.com/blog/apple-iphone-7-teardown (Apple iPhone 7 Teardown.pdf);
https://support.apple.com/kb/SP774?viewlocale=en_US&locale=en_US (iPad (6th generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP807?viewlocale=en_US&locale=en_US (iPad (7th generation) - Technical Specifications.pdf)
50
   https://www.apple.com/mz/iphone-8/specs/ (iPhone 8 - Technical Specifications - Apple (MZ).pdf);
https://www.ifixit.com/Teardown/iPhone+8+Teardown/97481 (iPhone 8 Teardown - iFixit.pdf); https://www.techinsights.com/blog/apple-iphone-8-plus-
teardown (Apple iPhone 8 Plus Teardown.pdf); https://support.apple.com/kb/sp770?locale=en_US (iPhone X – Technical Specifications);
https://www.techinsights.com/blog/apple-iphone-x-teardown
51
   https://support.apple.com/kb/SP779?viewlocale=en_US&locale=en_US (iPhone XS - Technical Specifications);
https://support.apple.com/kb/SP780?viewlocale=en_US&locale=en_US (iPhone XS Max – Technical Specifications);
https://support.apple.com/kb/SP781?viewlocale=en_US&locale=en_US (iPhone XR – Technical Specifications);
https://support.apple.com/kb/SP787?viewlocale=en_US&locale=en_US (iPad Air (3rd generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP788?viewlocale=en_US&locale=en_US (iPad mini (5th generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP784?viewlocale=en_US&locale=en_US (iPad Pro 11-inch (1st generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP814?viewlocale=en_US&locale=en_US (iPad Pro 11-inch (2nd generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP785?locale=en_US (iPad Pro 12.9-inch (3rd generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP815?viewlocale=en_US&locale=en_US (iPad Pro 12.9-inch (4th generation) - Technical Specifications)
52
   https://www.apple.com/iphone-11/specs/ (iPhone 11 Technical Specifications); https://www.apple.com/iphone-11-pro/specs/ (iPhone 11 Pro Technical
Specifications); https://support.apple.com/kb/SP820?viewlocale=en_US&locale=en_US (iPhone SE (2nd generation) – Technical Specifications.pdf)
53
   https://www.anandtech.com/show/9381/the-apple-watch-review/3 (Apple S1 Analysis - The Apple Watch Review.pdf)
54
   https://www.ifixit.com/News/8439/apple-watch-series-1 (We Just Took Apart the Apple Watch Series 1—Here’s What We Found Out – iFixit.pdf)
55
   https://www.ifixit.com/Teardown/Apple+Watch+Series+2+Teardown/67385 (Apple Watch Series 2 Teardown – iFixit.pdf)

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                               Case 6:20-cv-00505-ADA Document 27-2 Filed 11/05/20 Page 11 of 71




                                 Apple Watch (Series 3) includes an S3 processor.56 The Apple Watch (Series 4) includes an S4 processor.57 The
                                 Apple Watch (Series 5, SE) include an S5 processor.58 The Apple Watch (Series 6) includes an S6 processor.59

                                 In addition, the Accused Devices and Accused Devices (3PA) include hardware, such as light emitting diodes
                                 (LEDs) and organic light emitting diodes (OLEDs), for presenting a user interface.

 [a]: a touch sensitive area     The display of each of the Accused Devices and Accused Devices (3PA) includes a touch sensitive area, comprising
 in which a representation       a substantial portion of the screen presented to the user. The touch sensitive displays of the Accused Devices
 of a function is provided,      and Accused Devices (3PA) are comprised of one or more glass sheets incorporating circuitry to enable capacitive
                                 sensing.60

                                 Each Accused Device and Accused Device (3PA) includes code stored in memory for presenting a virtual keyboard
                                 in the touch sensitive portion of the display when the user interacts with various applications, such as the email,
                                 browser, and messaging applications, as well as the search function within a variety of applications. Each
                                 Accused Devices includes code for presenting a virtual keyboard referred to as “English (US)” in Keyboard
                                 Settings, which is enabled by default and which may, if not enabled, be enabled by a user by accessing Keyboard
                                 Settings and selecting “English (US).” Each Accused Device (3PA) includes code for presenting a third party
                                 virtual keyboard, which may be enabled by a user by accessing Keyboard Settings and selecting that particular
                                 third party virtual keyboard.

                                 For example, with the English (US) keyboard enabled, and running the Messages application,61 if a user taps the
                                 icon for “New Message,” a keyboard and one or more text entry fields will be presented to the user:


56
   https://support.apple.com/kb/SP766?viewlocale=en_US&locale=en_US (Apple Watch Series 3 - Technical Specifications.pdf)
57
   https://support.apple.com/kb/SP778?viewlocale=en_US&locale=en_US (Apple Watch Series 4 - Technical Specifications.pdf)
58
   https://support.apple.com/kb/SP808?viewlocale=en_US&locale=en_US (Apple Watch Series 5 - Technical Specifications.pdf);
https://support.apple.com/kb/SP827?viewlocale=en_US&locale=en_US (Apple Watch SE - Technical Specifications.pdf)
59
   https://support.apple.com/kb/SP826?viewlocale=en_US&locale=en_US (Apple Watch Series 6 - Technical Specifications.pdf)
60
   https://www.lovefone.co.uk/blogs/news/117010948-how-does-the-iphone-touch-screen-work-and-why-is-it-made-of-
glass#:~:text=Capacitive%20screens%20use%20a%20layer,at%20the%20point%20of%20contact.&text=Using%20glass%20and%20capacitive%20technology,ot
her%20types%20of%20capacitive%20screens..
61
   In the examples below and throughout these Infringement Contentions, exemplary references to the use of a specified virtual keyboard for entry of text into
a text field in a particular application (e.g., Messages, email, browser) is not intended to limit the scope of these Contentions to the use of the keyboard for
that particular application. For the avoidance of doubt, except where otherwise indicated, these Infringement Contentions apply to all applications with
respect to which the specified virtual keyboard(s) may be used.

                                                                               6
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 iPhone 11, English (US) keyboard, Message application.



                                         7
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                              The program code stored in memory, when read, causes the device to present a user interface in which each
                              character key of the keyboard is a representation of the function of entering a character into a text field.

[b]: wherein the              On the Accused Devices and Accused Devices (3PA), program code stored in memory for presenting a virtual
representation consists of    keyboard, when read, causes the device to present a user interface in which each character key
only one option for           (“representation”) depicts (“consists of”) only one character, i.e., only one option for activating the function of
activating the function       entering a character into the text field. For example, the “English (US)” virtual keyboard presented when
                              program code included in iOS 13 and iPadOS and subsequent version of iOS and iPadOS is executed on an
                              Accused Device includes at least one representation that consists of only one option for activating the function:




                                                                        8
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 iPhone 11, English (US) keyboard, Message application.

 In the example above, the highlighted “representation of a function” is the “H” character key. As presented by
 the code for presenting the “English (US)” virtual keyboard, at least each of the character keys of the keyboard

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 indicated below constitutes a “representation of a function:”




 iPhone 11, English (US) keyboard, Message application.


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                                   Similarly, the program code for a Third Party Swipe-Typing Keyboard App that is stored in the memory of an
                                   Accused Device (3PA) causes the device to present at least one (typically, at least 26) representation of a key
                                   consisting of only one character, such as a letter character.

 [c]: and wherein the              The Accused Devices include program code, included in iOS 13 and iPadOS and subsequent versions of iOS and
 function is activated by a        iPadOS, which causes the device, when presenting the “English (US)” virtual keyboard with
 multi-step operation              Settings/General/Keyboard/Slide to Type toggled “On,”62 to generate a particular character in a text field as a
 comprising (i) an object          result of an object (such as a user’s finger) (i) touching the display at the location where the key representing the
 touching the touch                character is located, and (ii) gliding along the touch sensitive area of the display away from that location:63
 sensitive area at a location
 where the representation
 is provided and then (ii)
 the object gliding along
 the touch sensitive area
 away from the touched
 location,




62
     This setting is toggled “On” by default in iOS 13, iPadOS and subsequent versions of iOS and iPadOS.
63
     The functionality that this program code causes the Accused Devices to execute is branded by Apple as “QuickPath.”

                                                                               11
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 https://www.apple.com/ios/ios-13/.

 For example, the user of an Accused Device may activate the function of entering the letter “H” into the text field
 by touching the “H” key and gliding away from it along the display:




                                          12
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                                iPhone 11, English (US) keyboard, Message application (during swipe typing).64


64
  The grey “swoosh” graphic present along the upper middle portion of the keyboard is dynamically generated by the device and roughly tracks the path of the
user’s finger as it glides along the display.

                                                                            13
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 Upon completion of the gliding action, the letter “H,” as well as other letters the keys for which were touched
 during the gliding motion, appears in the text field:




 iPhone 11, English (US) keyboard, Message application (swiping complete).


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 The same functionality is activated for any other character key that is initially touched during a “touch and glide”
 operation as described above, as well as other character keys touched during the operation, upon completion of
 the operation.

 The Accused Devices (3PA) include memory storing program code for third party keyboard applications that
 causes the device, when presenting the third party keyboard, to generate a particular character in a text field as
 a result of the user (i) touching the display at the location where the key representing the character is located
 with an object, such as the user’s finger, and (ii) causing the object to glide along the touch sensitive area of the
 display away from that location, in the same manner as described above. These third party keyboard
 applications, which generally refer to the recited functionality as “swipe typing,” “glide typing,” or the like,
 include Gboard, Swype, SwiftKey, FancyKey, iKeyboard, Nintype, Oh Fonts Swipekeys, Smart Swipe Keyboard,
 Swipekeys, and Syriac Swipekeys (“Third Party Swipe-Typing Keyboard Apps”).

 For example, the GBoard keyboard application includes program code for a functionality that it refers to as
 “Glide Typing:”




                                           15
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 GBoard – the Google Keyboard, Apple App Store page.

 This program code causes an Accused Device (3PA), when presenting the GBoard virtual keyboard, to generate a
 particular character in a text field as a result of the user (i) touching the display at the location where the key
 representing the character is located with an object, such as the user’s finger, and (ii) causing the object to glide

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                                    along the touch sensitive area of the display away from that location. Program code for the other Third Party
                                    Swipe Typing Apps causes the Accused Devices (3PA) to function in the same manner.

 [d]: wherein the                   The program code of the Accused Devices, when presenting the “English (US)” virtual keyboard on an Accused
 representation of                  Device, causes the key that is touched during the first step of the multi-step operation of limitation 1[c] not to be
 the function is not                relocated or duplicated after the user’s finger has moved beyond the boundary of the key (“during the gliding”).
 relocated or duplicated
 during the gliding.                Limitation 1[d] is also satisfied with respect to the Accused Devices for the independent reason that the Accused
                                    Devices include program code that causes the device to present a setting in Keyboard Settings for “Character
                                    Preview,” which, when toggled “Off,” causes the device to present the “English (US)” virtual keyboard such that
                                    the key that is touched during the first step of the multi-step operation of limitation 1[c] does not “pop out” at
                                    any point after the display is initially touched at the location of the key.

                                    The program code of the Accused Devices (3PA), when presenting the virtual keyboard of a Third Party Swipe-
                                    Typing Keyboard App on an Accused Device, causes the key that is touched during the first step of the multi-step
                                    operation of limitation 1[c] not to be relocated or duplicated after the user’s finger has moved beyond the
                                    boundary of the key (“during the gliding”).

 2. The computer readable           The Accused Devices and Accused Devices (3PA) include, stored in memory, program code that causes the device
 medium of claim 1,                 to present a user interface that includes icons representing different services or settings for a currently active
 wherein the function,              application (such as the phone application, which may, for example, be resident in memory (RAM) and/or using
 when activated, causes             CPU cycles but running in the background while the interface is presented) when a user performs the multi-step
 the user interface to              operation recited in claim 1[c] using the “English (US)” virtual keyboard or any Third Party Swipe Typing App.
 display icons representing
 different services or              For example, the program code for the Accused Devices and Accused Devices (3PA) will cause the following
 settings for a currently           interface to be presented when a user inputs “phone” into the search text field in Settings using the multi-step
 active application.                operation recited in claim 1[c]:65




65
     The particular search terms used, and the resulting interfaces, are exemplary and are not intended to limit the scope of these Contentions.

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 iPhone 11, English (US) keyboard, Settings

 The icons adjacent the “Do Not Disturb,”“Phone Noise Cancellation” and “Phone” legends represent services or
 settings for the phone application (“Phone”) or the operating system (“Do Not Disturb,” “Phone Noise

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 Cancellation”) of the device. The program code stored in the memory of the Accused Devices and Accused
 Devices (3PA) enables this interface to be presented while the phone application (and various other applications)
 are active, resident in memory (RAM) and/or using CPU cycles but running in the background.

 By way of another example, the program code for the Accused Devices and Accused Devices (3PA) will cause the
 following interface to be presented when a user inputs “apple” into the search text field in Settings using the
 multi-step operation recited in claim 1[c]:




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 iPhone 11, English (US) keyboard, Settings.



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                                    The icons adjacent the “Apple TV Remote,” “Media & Apple Music,” “iTunes & App Stores,” “Wallet & Apple
                                    Pay,” “Music” and “Podcasts” legends represent services or settings for the referenced applications or the
                                    operating system of the device.

 3. The computer readable           The program code for the Accused Devices and Accused Devices (3PA) enables the selection of a particular
 medium of claim 2,                 service or setting presented in an interface displayed as a result of the operation recited in claims 1[c] and 2 by
 wherein the user interface         tapping on the icon corresponding to that service or setting.
 is characterised in, that a
 selection of a preferred
 service or setting is done
 by tapping on a display
 icon corresponding to the
 preferred service or
 setting.

 6. The computer readable           The Accused Devices and Accused Devices (3PA) include, stored in memory, program code that causes the device
 medium of claim 1,                 to display a list with a library of available applications and files on the device when a user performs the multi-
 wherein the function,              step operation recited in claim 1[c], using the “English (US)” virtual keyboard with
 when activated, causes             Settings/General/Keyboard/Slide to Type toggled “On” or any Swipe-typing Third Party Keyboard App, after
 the user interface to              positioning the cursor in the “Search” field of the Settings function.
 display a list with a library
 of available applications          For example, the program code for the Accused Devices and Accused Devices (3PA) will cause the following
 and files on the mobile            interface to be presented when a user inputs “apple” into the search text field in Settings using the multi-step
 handheld computer unit.            operation recited in claim 1[c]:66




66
     The particular search terms used, and the resulting interfaces, are exemplary and are not intended to limit the scope of these Contentions.

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                              iPhone 11, English (US) keyboard, Settings.

12. The computer              The Accused Devices and Accused Devices (3PA) include program code stored in memory that, when read by the
readable medium of claim      device, causes the device to present an interface in which an active application, function, service or setting is
1, wherein the user           advanced one step by gliding the object along the touch sensitive area from left to right, and that the active
interface is characterised


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in, that an active             application, function, service or setting is closed or backed one step by gliding the object along the touch
application, function,         sensitive area from right to left.
service or setting is
advanced one step by           For example, the Accused Devices and Accused Devices (3PA) include program code that causes the device to
gliding the object along       present an interface, while various applications are active, in which the user may advance one step through a
the touch sensitive area       series of active application windows by gliding an object (such as the user’s finger) along the display from left to
from left to right, and        right, and may move back one step through a series of active application windows by gliding an object along the
that the active                display from right to left:
application, function,
service or setting is
closed or backed one step
by gliding the object along
the touch sensitive area
from right to left.




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 iPhone 11.

 By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
 the device to present an interface, while the camera application is active, in which the user may advance one

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 step (one image) through a series of stored images by gliding an object (such as the user’s finger) along the
 display from left to right, and may move back one step (one image) by gliding an object along the display from
 right to left:




                                         25
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 iPhone 11, camera application.

 By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
 the device to present an interface, while the camera application is active, in which the user may advance one
 step through a set of functions, services or settings for the camera application by gliding an object along the
 display from left to right, and may move back one step through the set of functions, services or settings by
 gliding an object along the display from right to left:




                                         26
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 iPhone 11, camera application.




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                               By way of another example, for Accused Devices and Accused Devices (3PA) that constitute iPad models,
                               browsing history and photos may be advanced or regressed by gliding an object along the display from left to
                               right or right to left, respectively.

                               By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
                               the device to advance one step through one set of icons (application, system function) to another set of icons, or
                               to or from a set of widgets, by gliding an object along the display from left to right, and may move back one step
                               through the set of icons by gliding an object along the display from right to left.

                               By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
                               the device to advance one step through one set of open applications to another set of open applications, by
                               gliding an object along the bottom edge of the display (in the location of the Home Bar) from left to right, and
                               may move back one step through the set of applications by gliding an object along the display in the same
                               location from right to left.

13. The computer               The Accused Devices include and Accused Devices (3PA) include program code stored in memory that, when read
readable medium of claim       by the device, cause the device to present an interface in which “English (US)” virtual keyboard and Third Party
1, wherein the user            Swipe Typing Keyboard App virtual keyboards present character keys at the bottom of the display:
interface is characterised
in, that said
representation of
said function is located at
the bottom of said touch
sensitive area.




                                                                        28
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 iPhone 11, English (US) keyboard, Message application.




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15. The computer            The memory of an Accused Device (3PA) contains program code for one or more Third Party Swipe-Typing
readable medium of claim Keyboard Apps, which program code is adapted to function as a shell upon the operating system (iOS, iPadOS or
1, characterised in, that   Watch OS) of the device.
said computer program
code is adapted to
function as a shell upon an
operating system.

16. The computer             The Accused Devices and Accused Devices (3PA) include, stored in memory, program code that causes the
readable medium of claim     device, when presenting the “English (US)” virtual keyboard or any Third Party Swipe-Typing Keyboard App, to
1, wherein the               display character keys on the virtual keyboard that are finger-sized:
representation is finger-
sized.




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 iPhone XR, English (US) keyboard, Message application.



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17. The computer            The Accused Devices and Accused Devices (3PA) include, stored in memory, program code that causes the
readable medium of claim    device, when presenting the “English (US)” virtual keyboard or any Swipe-typing Third Party Keyboard App, to
1, wherein the location     display one or more character keys on the virtual keyboard at locations on the display at which touch
where the representation    functionality is provided, during the time in which the character key is displayed, only for the function of entering
is provided does not        the displayed character key into a text field.
provide touch
functionality for a
different function.




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                                               PRELIMINARY INFRINGEMENT CONTENTIONS – APPLE - 2

                                                                 U.S. PATENT NO. 8,095,879



               Claim                                                                   Evidence
    1[p]: A non- transitory      The iPhone X, iPhone XR, iPhone XS, iPhone XS Max,4 iPhone 11,5 iPhone 11 Pro,6 iPhone 11 Pro Max,7 and
                                                1            2            3

    computer readable            iPad Pro (3rd8 and 4th9 generations) (collectively, “the Accused Devices”)10 include a non- transitory computer
    medium storing a             readable medium (a flash memory), storing program code which, when read by the processor incorporated into
    computer program with        the Accused Devices, allows the devices to present a user interface.
    computer program code,
    which, when read by a        The memory stores program code, e.g., the operating system (iOS, iPadOS) code of the device as well as
    mobile handheld              application code. The Accused Devices include hardware, such as RAM and a main processor, for reading the
    computer unit, allows the    operating system and application code stored in memory. The iPhone X includes an A11 Bionic processor.11 The
    computer to present a
    user interface for the
    mobile handheld

1
  64 or 256 GB flash memory. iPhone X, Wikipedia, https://en.wikipedia.org/wiki/IPhone_X; iPhone X Teardown,
https://www.ifixit.com/Teardown/iPhone+X+Teardown/98975 (Toshiba TSB3234X68354TWNA1 64 GB flash memory).
2
  64, 128, or 256 GB flash memory. iPhone XR, Wikipedia, https://en.wikipedia.org/wiki/IPhone_XR; iPhone XR Teardown,
https://www.ifixit.com/Teardown/iPhone+XR+Teardown/114123 (Toshiba TSB3243VC0428CHNA1 64 GB flash storage).
3
  64, 256 or 512 GB flash memory. iPhone XS, Wikipedia, https://en.wikipedia.org/wiki/IPhone_XS; iPhone XS Teardown,
https://www.ifixit.com/Teardown/iPhone+XS+and+XS+Max+Teardown/113021 (Toshiba TSB3243V85691CHNA1 64 GB flash storage).
4
  Ibid.
5
  64, 128 or 256 GB flash memory. iPhone 11, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11.
6
  64, 256 or 512 GB flash memory. iPhone 11 Pro, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11_Pro.
7
  64, 256 or 512 GB flash memory. iPhone 11 Pro Max, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11_Pro; iPhone 11 Pro Max Teardown,
https://www.ifixit.com/Teardown/iPhone+11+Pro+Max+Teardown/126000 (Toshiba TSB 4226VE9461CHNA1 1927 64 GB flash storage).
8
  64, 256, 512 GB, 1 TB flash memory. iPad Pro (3rd generation) Specs, https://support.apple.com/kb/SP785?locale=en_US; iPad Pro (3rd generation)
Teardown, https://www.ifixit.com/Teardown/iPad+Pro+11-Inch+Teardown/115457 (Toshiba TSB3247M61710TWNA1 flash storage (64 GB total)).
9
  128, 256, 512 GB, 1 TB flash memory. iPad Pro (4th generation) Specs, https://support.apple.com/kb/SP815?locale=en_US.
10
   Plaintiff has not yet been able to obtain information concerning subsequent models of iPhone and iPad products sufficient to enable it to determine whether
such products infringe the ‘879 Patent, and on that basis reserves its right to supplement or amend these contentions to address infringement by such
products.
11
   https://support.apple.com/kb/sp770?locale=en_US (iPhone X – Technical Specifications); https://www.techinsights.com/blog/apple-iphone-x-teardown

                                                                              1
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 computer unit, the user        iPhone XS, XS Max, and XR include an A12 Bionic processor.12 The iPhone 11, 11 Pro, and 11 Pro Max include an
 interface comprising:          A13 Bionic processor.13 The iPad Pro (3rd and 4th generations) include an A12X Bionic processor.14 In addition,
                                the Accused Devices include hardware, such as light emitting diodes (LEDs), for presenting a user interface.

 [a]: a touch sensitive area    The display of each of the Accused Devices includes a touch sensitive area, comprising a substantial portion of
 in which a representation      the screen presented to the user. The touch sensitive displays of the Accused Devices are comprised of one or
 of a function is provided,     more glass sheets incorporating circuitry to enable capacitive sensing.15

                                Each Accused Device includes code stored in memory for presenting a Lock Screen that includes a horizontal bar
                                (“Control Bar”) in the upper right corner of the display:




12
   https://support.apple.com/kb/SP779?viewlocale=en_US&locale=en_US (iPhone XS - Technical Specifications);
https://support.apple.com/kb/SP780?viewlocale=en_US&locale=en_US (iPhone XS Max – Technical Specifications);
https://support.apple.com/kb/SP781?viewlocale=en_US&locale=en_US (iPhone XR – Technical Specifications);
https://support.apple.com/kb/SP785?locale=en_US (iPad Pro 12.9-inch (3rd generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP815?viewlocale=en_US&locale=en_US (iPad Pro 12.9-inch (4th generation) - Technical Specifications)
13
   https://www.apple.com/iphone-11/specs/ (iPhone 11 Technical Specifications); https://www.apple.com/iphone-11-pro/specs/ (iPhone 11 Pro Technical
Specifications).
14
   iPad, Wikipedia, https://en.wikipedia.org/wiki/IPad.
15
   https://www.lovefone.co.uk/blogs/news/117010948-how-does-the-iphone-touch-screen-work-and-why-is-it-made-of-
glass#:~:text=Capacitive%20screens%20use%20a%20layer,at%20the%20point%20of%20contact.&text=Using%20glass%20and%20capacitive%20technology,ot
her%20types%20of%20capacitive%20screens..

                                                                         2
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                                   Lock screen, iPhone 11.16



16
     Screenshot taken 4/10/2020, by Philip Graves.

                                                                3
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                               The Control Bar is a representation of the function of opening the Control Center.

[b]: wherein the               The Control Bar (“the representation”) of the Accused Devices depicts (“consists of”) only one option for
representation consists of     activating the function (transitioning the interface to the Control Center).
only one option for
activating the function

[c]: and wherein the           The Accused Devices include program code for causing the interface to transition from the Lock Screen to the
function is activated by a     Control Center when an object capable of being sensed by a capacitive touchscreen (such as a user’s finger) (i)
multi-step operation           touches the display at the location of the Control Bar, and (ii) glides the object touching the display downward
comprising (i) an object       along the display.
touching the touch
sensitive area at a location
where the representation
is provided and then (ii)
the object gliding along
the touch sensitive area
away from the touched
location,

[d]: wherein the               The program code of the Accused Devices causes the Control Bar not to be relocated or duplicated while the
representation of              object is gliding downward along the display.
the function is not
relocated or duplicated
during the gliding.

2. The computer readable       The Accused Devices include a memory storing program code for causing the interface to transition from the
medium of claim 1,             Lock Screen to the Control Center when an object touches the display in the area of the Control Bar and glides
wherein the function,          downward along the display, upon which the user interface displays icons representing different services or
when activated, causes         settings (e.g., Airplane Mode, Wi-Fi connectivity, Bluetooth connectivity, cellular connectivity) for applications
the user interface to          (such as the phone and browser applications) that may be active when the Control Center interface is opened,
display icons representing     including applications that may be resident in memory (RAM) and/or using CPU cycles but running in the
different services or          background:
settings for a currently

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active application.




                       iPhone 11, Control Center.




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 In addition, other icons different from those identified above may be present in the Control Center screen as a
 result of user customization, or as a result of the use of third party applications (e.g., Zoom), which icons may
 represent services or settings of a currently active (in the foreground or background) application.

 For all of the Accused Devices, in the Control Center interface, certain services or settings (e.g., Airplane Mode,
 Wi-Fi connectivity, Bluetooth connectivity, cellular connectivity) may be selected by tapping on the icon
 corresponding to the selected service:




                                            6
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                            iPhone 11, Control Center.

12. The computer            The Accused Devices and Indirect Accused Devices include program code stored in memory that, when read by
readable medium of claim    the device, causes the device to present an interface in which an active application, function, service or setting

                                                                      7
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1, wherein the user            is advanced one step by gliding the object along the touch sensitive area from left to right, and that the active
interface is characterised     application, function, service or setting is closed or backed one step by gliding the object along the touch
in, that an active             sensitive area from right to left.
application, function,
service or setting is          For example, the Accused Devices include program code that cause the device to present an interface, while
advanced one step by           various applications are active, in which the user may advance one step through a series of active application
gliding the object along       windows by gliding an object (such as the user’s finger) along the display from left to right, and may move back
the touch sensitive area       one step through a series of active application windows by gliding an object along the display from right to left:
from left to right, and
that the active
application, function,
service or setting is
closed or backed one step
by gliding the object along
the touch sensitive area
from right to left.




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 iPhone 11.



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 By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
 the device to present an interface, while the camera application is active, in which the user may advance one
 step (one image) through a series of stored images by gliding an object (such as the user’s finger) along the
 display from left to right, and may move back one step (one image) by gliding an object along the display from
 right to left:




                                         10
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 iPhone 11, camera application.

 By way of another example, the Accused Devices and Accused Devices (3PA) include program code that cause
 the device to present an interface, while the camera application is active, in which the user may advance one

                                         11
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 step through a set of functions, services or settings for the camera application by gliding an object along the
 display from left to right, and may move back one step through the set of functions, services or settings by
 gliding an object along the display from right to left:




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                             iPhone 11, camera application.

                             By way of another example, for Accused Devices and Accused Devices (3PA) that constitute iPad models,
                             browsing history and photos may be advanced or regressed by gliding an object along the display from left to
                             right or right to left, respectively.

                             By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
                             the device to advance one step through one set of icons (application, system function) to another set of icons,
                             or to or from a set of widgets, by gliding an object along the display from left to right, and may move back one
                             step through the set of icons by gliding an object along the display from right to left.

                             By way of another example, the Accused Devices and Accused Devices (3PA) include program code that causes
                             the device to advance one step through one set of open applications to another set of open applications, by
                             gliding an object along the bottom edge of the display (in the location of the Home Bar) from left to right, and
                             may move back one step through the set of applications by gliding an object along the display in the same
                             location from right to left.

16. The computer             The Accused Devices include, stored in memory, program code that causes the device to present a Lock Screen
readable medium of claim     that includes a finger-sized Control Bar:
1, wherein the
representation is finger-
sized.




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                            iPhone 11, Lock Screen.

17. The computer            The Accused Devices include, stored in memory, program code that causes the device to present a Lock Screen
readable medium of claim    that includes a Control Bar at a location on the display that, while the Control Bar is being presented, provides
1, wherein the location     touch functionality only for transitioning the interface to the Control Center.

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where the representation
is provided does not
provide touch
functionality for a
different function.




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                                                    PRELIMINARY INFRINGEMENT CONTENTIONS - 3

                                                                U.S. PATENT NO. 8,812,993

                                                                           APPLE



               Claim                                                                   Evidence
    1[p]. A non-transitory       The iPhone X,1 iPhone XR,2 iPhone XS,3 iPhone XS Max,4 iPhone 11,5 iPhone 11 Pro,6 iPhone 11 Pro Max,7 and iPad
    computer readable            Pro (3rd8 and 4th9 generations) (collectively, “the Accused Devices”)10 include a non- transitory computer
    medium storing               readable medium (a flash memory), storing instructions (code) which, when executed by the processor
    instructions, which, when    incorporated into the Accused Devices, causes the device to enable a user interface.
    executed by a processor
    of an electronic device      The Accused Devices include a processor which executes code, including code for presentation of the user
    having a touch-sensitive     interface. The iPhone X includes an A11 Bionic processor.11 The iPhone XS, XS Max, and XR include an A12
    display screen, cause



1
  64 or 256 GB flash memory. iPhone X, Wikipedia, https://en.wikipedia.org/wiki/IPhone_X; iPhone X Teardown,
https://www.ifixit.com/Teardown/iPhone+X+Teardown/98975 (Toshiba TSB3234X68354TWNA1 64 GB flash memory).
2
  64, 128, or 256 GB flash memory. iPhone XR, Wikipedia, https://en.wikipedia.org/wiki/IPhone_XR; iPhone XR Teardown,
https://www.ifixit.com/Teardown/iPhone+XR+Teardown/114123 (Toshiba TSB3243VC0428CHNA1 64 GB flash storage).
3
  64, 256 or 512 GB flash memory. iPhone XS, Wikipedia, https://en.wikipedia.org/wiki/IPhone_XS; iPhone XS Teardown,
https://www.ifixit.com/Teardown/iPhone+XS+and+XS+Max+Teardown/113021 (Toshiba TSB3243V85691CHNA1 64 GB flash storage).
4
  Ibid.
5
  64, 128 or 256 GB flash memory. iPhone 11, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11.
6
  64, 256 or 512 GB flash memory. iPhone 11 Pro, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11_Pro.
7
  64, 256 or 512 GB flash memory. iPhone 11 Pro Max, Wikipedia, https://en.wikipedia.org/wiki/IPhone_11_Pro; iPhone 11 Pro Max Teardown,
https://www.ifixit.com/Teardown/iPhone+11+Pro+Max+Teardown/126000 (Toshiba TSB 4226VE9461CHNA1 1927 64 GB flash storage).
8
  64, 256, 512 GB, 1 TB flash memory. iPad Pro (3rd generation) Specs, https://support.apple.com/kb/SP785?locale=en_US; iPad Pro (3rd generation)
Teardown, https://www.ifixit.com/Teardown/iPad+Pro+11-Inch+Teardown/115457 (Toshiba TSB3247M61710TWNA1 flash storage (64 GB total)).
9
  128, 256, 512 GB, 1 TB flash memory. iPad Pro (4th generation) Specs, https://support.apple.com/kb/SP815?locale=en_US.
10
   Plaintiff has not yet been able to obtain information concerning subsequent models of iPhone and iPad products sufficient to enable it to determine whether
such products infringe the ‘879 Patent, and on that basis reserves its right to supplement or amend these contentions to address infringement by such
products.
11
   https://support.apple.com/kb/sp770?locale=en_US (iPhone X – Technical Specifications); https://www.techinsights.com/blog/apple-iphone-x-teardown

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 the processor to enable a       Bionic processor.12 The iPhone 11, 11 Pro, and 11 Pro Max include an A13 Bionic processor.13 The iPad Pro (3rd
 user interface of the           and 4th generations) include an A12X Bionic processor.14
 device, the user interface
 comprising at least two         Each of the Accused Devices includes a touch sensitive display screen, comprised of, e.g., diodes (for providing
 states, namely,                 the display) and one or more glass sheets incorporating circuitry to enable capacitive sensing.15

 [a] (a) a tap present state,    The memory of the Accused Devices stores code for enabling the device to display a user interface comprising a
 wherein a plurality of tap-     Home Screen (“a tap-present state”), which presents multiple tap-activatable icons for system functions, each of
 activatable icons for a         which is activated by a tap on its respective icon:
 respective plurality of pre-
 designated system
 functions are present,
 each system function
 being activated in
 response to a tap on its
 respective icon, and




12
   https://support.apple.com/kb/SP779?viewlocale=en_US&locale=en_US (iPhone XS - Technical Specifications);
https://support.apple.com/kb/SP780?viewlocale=en_US&locale=en_US (iPhone XS Max – Technical Specifications);
https://support.apple.com/kb/SP781?viewlocale=en_US&locale=en_US (iPhone XR – Technical Specifications);
https://support.apple.com/kb/SP785?locale=en_US (iPad Pro 12.9-inch (3rd generation) - Technical Specifications.pdf);
https://support.apple.com/kb/SP815?viewlocale=en_US&locale=en_US (iPad Pro 12.9-inch (4th generation) - Technical Specifications)
13
   https://www.apple.com/iphone-11/specs/ (iPhone 11 Technical Specifications); https://www.apple.com/iphone-11-pro/specs/ (iPhone 11 Pro Technical
Specifications).
14
   iPad, Wikipedia, https://en.wikipedia.org/wiki/IPad.
15
   https://www.lovefone.co.uk/blogs/news/117010948-how-does-the-iphone-touch-screen-work-and-why-is-it-made-of-
glass#:~:text=Capacitive%20screens%20use%20a%20layer,at%20the%20point%20of%20contact.&text=Using%20glass%20and%20capacitive%20technology,ot
her%20types%20of%20capacitive%20screens..

                                                                           2
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 Home screen, iPhone 11.

 The memory of the Accused Devices also stores code for enabling the device to display a user interface
 comprising a Control Center screen (“a tap-present state”), which presents multiple tap-activatable icons for
 system functions, each of which is activated by a tap on its respective icon:



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                               Control Center, iPhone 11.

[b] (b) a tap-absent state,    The memory of the Accused Devices stores code for enabling the device to display a user interface comprising a
wherein tap-activatable        Lock Screen (“a tap-absent state”):


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icons are absent but an
otherwise-activatable
graphic is present in a
strip along at least one
edge of the display screen
for transitioning the user
interface from the tap-
absent state to the tap-
present state




                              Lock screen, iPhone 11.

                              The Lock Screen of the Accused Devices presents no tap-activatable icons: Neither the flashlight icon in the
                              lower left corner of the display, nor the camera icon in the lower right corner of the display, nor the padlock icon
                              in the upper center of the display, nor any other graphic element of the Lock Screen display, is tap-activatable.


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 The Lock Screen of the Accused Devices presents two graphic elements that may be activated by a “touch and
 drag” motion across the display (“otherwise-activatable graphics”): a horizontal bar in the lower center of the
 display (the “Home Bar”) and a horizontal bar in the upper right of the display (the “Control Bar”), each of which
 is present in a strip along an edge of the display screen:




 Lock screen, iPhone 11.

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                               The code stored in the memory of the Accused Devices, when executed by the processor of the device, will cause
                               the user interface to transition from the Lock Screen to the Home Screen when the Home Bar is activated.
                               Similarly, the code stored in the memory of the Accused Devices, when executed by the processor of the device,
                               will cause the user interface to transition from the Lock Screen to the Control Center screen when the Control
                               Bar is activated.

[c] in response to a           The memory of the Accused Devices includes code for causing the user interface to transition from the Lock
multistep user gesture         Screen to the Home Screen when an object (such as a user’s finger) touches the display in the location of the
comprising (i) an object       Home Bar and glides upward on the display away from the location of the Home Bar, if Face ID has been
touching the display           configured and enabled.
screen within the strip,
and (ii) the object gliding    The memory of the Accused Devices includes code for causing the user interface to transition from the Lock
on the display screen          Screen to the Control Center screen when an object capable of being sensed by a capacitive touchscreen (such as
away from and out of the       a user’s finger) touches the display in the location of the Control Bar and glides downward on the display away
strip.                         from the location of the Control Bar.

2. The computer readable       The code stored in the memory of the Accused Devices enables only one transition elicited by a gesture that
medium of claim 1,             begins at the location at which the Control Bar is presented: a transition from the Lock Screen to the Control
wherein any state              Center screen.
transition elicited by a
user gesture that begins
at a location at which the
otherwise-activatable
graphic is provided,
transitions to the tap-
present state.
3. The computer readable       The code stored in the memory of the Accused Devices causes the device not to display tap-activatable icons of
medium of claim 1,             the Home Screen within a window frame:
wherein the tap-present
state does not display the
tap-activatable icons
within a window frame.



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 Home screen, iPhone 11.

 The code stored in the memory of the Accused Devices causes the device not to display tap-activatable icons of
 the Control Center screen within a window frame:




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                            Control Center, iPhone 11.

5. The computer readable    The memory of the Accused Devices stores code for enabling the device to display a user interface comprising a
medium of claim 1,          Home Screen, which presents a tap-activatable icon for a clock function:
wherein the plurality of

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pre-designated system
functions comprises a
clock function.




                         Home screen, iPhone 11.

                         The memory of the Accused Devices stores code for enabling the device to display a user interface comprising a
                         Control Center screen, which presents a tap-activatable icon for a clock function:




                                                                 10
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                            Control Center, iPhone 11.

6. The computer readable    The memory of the Accused Devices stores code for enabling the device to display a user interface comprising a
medium of claim 1,          Home Screen, which presents a tap-activatable icon for an alarm function:
wherein the plurality of

                                                                    11
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pre-designated system
functions comprises an
alarm function.




                          Home screen, iPhone 11.

                          The memory of the Accused Devices stores code for enabling the device to display a user interface comprising a
                          Control Center screen, which presents a tap-activatable icon for an alarm function:




                                                                  12
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                             Control Center, iPhone 11.

7. The computer readable     The code stored in the memory of the Accused Devices causes the device to present the Home Bar on the Lock
medium of claim 1,           Screen in a strip along an edge of the display that is less than a thumb’s width wide within the display screen:
wherein the strip is less

                                                                      13
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than a thumbs width wide
within the display
screen.




                            Lock screen, iPhone 11.

                            The code stored in the memory of the Accused Devices causes the device to present the Control Bar on the Lock
                            Screen in a strip along an edge of the display that is less than a thumb’s width wide within the display screen:




                                                                    14
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                                Lock screen, iPhone 11.

8. The computer readable        The memory of the Accused Devices includes code for causing the user interface to transition from the Lock
medium of claim 1,              Screen to the Home Screen when an object capable of being sensed by a capacitive touchscreen (such as a user’s
wherein the multi-step          finger) touches the display at the location of the Home Bar and glides upward on the display away from the
user gesture comprises (i)      location of the Home Bar and more than one thumb’s width away from the edge of the display, if Face ID has
the object touching the         been configured and enabled.
otherwise-activatable
graphic, and (ii) the object

                                                                       15
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gliding on the display      The memory of the Accused Devices includes code for causing the user interface to transition from the Lock
screen away from and out    Screen to the Control Center screen when an object capable of being sensed by a capacitive touchscreen (such as
of the strip.               a user’s finger) touches the display at the location of the Control Bar and glides downward on the display away
                            from the location of the Control Bar and more than one thumb’s width away from the edge of the display.




                                                                    16
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                     EXHIBIT B




                                5
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                 Patent                                      Priority Date
U.S. 8,095,879                            No later than 5/25/2000
U.S. 8,812,993                            No later than 5/25/2000




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                             CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of October 2020, I caused to be served counsel

of record via electronic mail at the following addresses.

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